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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

 PATRICIA KENNEDY,

                Plaintiff,

 v.

 MAHADEV, LLC.,

             Defendant,
 _____________________________/


                                           COMPLAINT
                                    (Injunctive Relief Demanded)

         Plaintiff, PATRICIA KENNEDY, Individually, on her behalf and on behalf of all other

  individuals similarly situated, (sometimes referred to as “Plaintiff”), hereby sues the Defendant,

  MAHADEV LLC, (sometimes referred to as “Defendant”), for Injunctive Relief, and attorney’s

  fees, litigation expenses, and costs pursuant to the Americans with Disabilities Act, 42 U.S.C.§

  12181 et seq. (“ADA”).

  1.             Plaintiff is a resident of Broward and Pasco Counties, is sui juris, and qualifies as

                 an individual with disabilities as defined by the ADA. Plaintiff is unable to engage

                 in the major life activity of walking more than a few steps without assistive

                 devices. Instead, Plaintiff is bound to ambulate in a wheelchair or with a cane or other

                 support and has limited use of her hands. She is unable to tightly grasp, pinch and

                 twist of the wrist to operate. When ambulating beyond the comfort of her own

                 home, Plaintiff must primarily rely on a wheelchair. Plaintiff requires accessible

                 handicap parking spaces located closest to the entrances of a facility. The handicap

                 and access aisles must be of sufficient width so that she can embark and

                 disembark from a ramp into her vehicle. Routes connecting the handicap spaces

                 and all features, goods and services of a facility must be level, properly sloped,
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             sufficiently wide and without cracks, holes or other hazards that can pose a danger

             of tipping, catching wheels or falling. These areas must be free of obstructions or

             unsecured carpeting that make passage either more difficult or impossible.

             Amenities must be sufficiently lowered so that Plaintiff can reach them. She has

             difficulty operating door knobs, sink faucets, or other operating mechanisms that

             tight grasping, twisting of the wrist or pinching. She is hesitant to use sinks that have

             unwrapped pipes, as such pose a danger of scraping or burning her legs. Sinks must

             be at the proper height so that she can put her legs underneath to wash her hands.

             She requires grab bars both behind and beside a commode so that she can safely

             transfer and she has difficulty reaching the flush control if it is on the wrong side.

             She has difficulty getting through doorways if they lack the proper clearance.

  2.         For many years, Plaintiff h a s t r a v e l e d t h r o u g h o u t F l o r i d a

             including Central Florida in general and Polk County in

             particular. She intends to continue her travels to, and

             through, the area with the same frequency in the future.

  3.         Plaintiff is an advocate of the rights of similarly situated disabled persons and is a

             "tester" for the purpose of asserting her civil rights and monitoring, ensuring, and

             determining whether places of public accommodation and their websites are in

             compliance with the ADA.

  4.          According to the county property records, Defendant owns a place of public

              accommodation as defined by the ADA and the regulations implementing the ADA,

              28 CFR 36.201(a) and 36.104. The place of public accommodation that the

              Defendant owns is a place of lodging known as Winter Haven Gardens Inn

              & Banquets Center, and is located at 1150 3 r d SW, Winter Haven, in the

              County of Polk, Florida (hereinafter "Property").
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  5.          Venue is properly located in the Southern District because venue lies in the judicial

              district where the cau se of act ion accrued. In addi ti on, t he Defend ant

              does busi nes s in t hi s dist ri ct vi a t he Int ernet.

  6.          Pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1343, this Court has been given

              original jurisdiction over actions which arise from the Defendant’s violations of Title

              III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq. See also 28

              U.S.C. § 2201 and § 2202.


  7.          As the owner of the subject place of lodging, Defendant is required to comply with

              the ADA. As such, Defendant is required to ensure that its place of lodging is in

              compliance with the standards applicable to places of public accommodation, as set

              forth in the regulations promulgated by the Department Of Justice. Said regulations

              are set forth in the Code of Federal Regulations, the Americans With Disabilities

              Act Architectural Guidelines ("ADAAGs"), and the 2010 ADA Standards,

              incorporated by reference into the ADA. These regulations impose requirements

              pertaining to places of public accommodation, including places of lodging, to ensure

              that they are accessible to disabled individuals.

  8.         More specifically, 28 C.F.R. Section 36.302(e)(1) imposes the following

             requirement:

             Reservations made by places of lodging. A public accommodation that owns,
             leases (or leases to), or operates a place of lodging shall, with respect to
             reservations made by any means, including by telephone, in-person, or through
             a third party -
                     (i) Modify its policies, practices, or procedures to ensure that individuals
                     with disabilities can make reservations for accessible guest rooms during
                     the same hours and in the same manner as individuals who do not need
                     accessible rooms;
                     (ii) Identify and describe accessible features in the hotels and guest
                     rooms offered through its reservations service in enough detail to
                     reasonably permit individuals with disabilities to assess independently
                     whether a given hotel or guest room meets his or her accessibility needs;
                     (iii) Ensure that accessible guest rooms are held for use by individuals
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                    with disabilities until all other guest rooms of that type have been rented
                    and the accessible room requested is the only remaining room of that type;
                    (iv) Reserve, upon request, accessible guest rooms or specific types of
                    guest rooms and ensure that the guest rooms requested are blocked and
                    removed from all reservations systems; and
                    (v) Guarantee that the specific accessible guest room reserved through
                    its reservations service is held for the reserving customer, regardless of
                    whether a specific room is held in response to reservations made by
                    others.

  9.         These regulations became effective March 15, 2012.

  10.        Defendant, either itself or by and through a third party, implemented, operates,

             controls and or maintains websites for the Property which contains an online

             reservations system. The website is located at: https://winterhavengardens.com/

             and https://book.webrez.com/v30/#/property/2032/location/0/search. This term

             also includes all websites owned and operated by Defendant or by third parties to

             book or reserve guest accommodations at the hotel:

             https://www.booking.com/hotel/us/days-inn-winter-haven.html,

             https://www.expedia.com/Lakeland-Winter-Haven-Hotels-Winter-Haven-

             Gardens-Inn-And-Banquet-Center.h14341.Hotel-Information,

             https://www.hotels.com/ho107317/winter-haven-gardens-inn-and-banquet-center-

             winter-haven-united-states-of-america/, https://www.orbitz.com/es/Lakeland-

             Winter-Haven-Hoteles-Winter-Haven-Gardens-Inn-And-Banquet-

             Center.h14341.Informacion-Hotel, and https://www.priceline.com/hotel-

             deals/h39699/US/Florida/Winter-Haven/Winter-Haven-Garden-Inn-Banquet-

             Center.html. The purpose of these websites is to allow members of the public to

             reserve guest accommodations and review information pertaining to the goods,

             services, features, facilities, benefits, advantages, and accommodations of the

             Property. As such, this website is subject to the requirements of 28 C.F.R.

             Section 36.302(e).
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  11.        Prior to the commencement of this lawsuit, specifically on August 22, 2019,

             August 25, 2019, August 27, 2019, August 28, 2019, August 30, 2019, September

             1, 2019, September 2, 2019, and September 4, 2019, and while in her home in

             Broward County, Florida, Plaintiff visited the websites for the purpose of

             reviewing and assessing the accessible features at the Property and ascertain

             whether they meet the requirements of 28 C.F.R. Section 36.302(e) and her

             accessibility needs. However, Plaintiff was unable to do so because Defendant

             failed to comply with the requirements set forth in 28 C.F.R. Section 36.302(e).

             As a result, Plaintiff was deprived the same goods, services, features, facilities,

             benefits, advantages, and accommodations of the Property available to the general

             public. Screenshots of all the websites the hotel uses for booking were reviewed

             and are attached hereto.

  12.        More specifically, the websites located at: https://winterhavengardens.com/ and

             https://book.webrez.com/v30/#/property/2032/location/0/search mentioned

             accessible rooms but contained no information as to what makes this room

             accessible. No information was given as to whether or where it offers

             compliant/accessible roll-in showers, tubs, built in seating, commodes, grab bars,

             sinks, wrapped pipes, sink and door hardware, properly located amenities,

             sufficient maneuvering spaces, compliant doors, furniture, controls and operating

             mechanisms. The websites did not contain any information as to whether all

             goods, facilities and services at the property are connected by a compliant

             accessible route, nor does the website contain any information as to the

             accessibility of routes connecting all the features of the hotel, the transaction

             counter, parking, and common area restrooms. The websites do not give any

             information as to whether accessible rooms are on the ground floor or if an
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             elevator is provided within an accessible route. Nor do the websites give any

             information regarding the pool/pools having an accessible lift. The hotel claims

             to have an outdoor swimming pool, fitness center, garden, sun terrace, BBQ

             facilities, vending machines, meeting/banquet facilities, fax machine, but there is

             no information as to whether any or all of these hotel features are accessible.

  13.        The website located at: https://www.booking.com/hotel/us/days-inn-winter-

             haven.html: makes reference to a room labeled “king room-disability access”.

             There is no information about what makes this room accessible. Hotel amenities,

             room types and amenities are all listed in detail. No information was given about

             accessibility in the hotel other than the statement “facilities for disabled guests”.

  14.        The website located at https://www.expedia.com/Lakeland-Winter-Haven-Hotels-

             Winter-Haven-Gardens-Inn-And-Banquet-Center.h14341.Hotel-Information: had

             no option to book an accessible room. Hotel amenities, room types and amenities

             are all listed in detail. No information was given about accessibility in the hotel

             other than the statements “accessible bathroom”, “roll-in shower” and “in-room

             accessibility”.

  15.        The website located at https://www.hotels.com/ho107317/winter-haven-gardens-

             inn-and-banquet-center-winter-haven-united-states-of-america/: had no option to

             book an accessible room. Hotel amenities, room types and amenities are all listed

             in detail. No information was given about accessibility in the hotel other than the

             statements “accessible bathroom”, “roll-in shower” and “in-room accessibility”.

  16.        The website located at https://www.orbitz.com/es/Lakeland-Winter-Haven-

             Hoteles-Winter-Haven-Gardens-Inn-And-Banquet-Center.h14341.Informacion-

             Hotel: had no option to book an accessible room. Hotel amenities, room types

             and amenities are all listed in detail. No information was given about accessibility
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             in the hotel other than the statements “accessible bathroom”, “roll-in shower” and

             “in-room accessibility”.

  17.        The website located at https://www.priceline.com/hotel-

             deals/h39699/US/Florida/Winter-Haven/Winter-Haven-Garden-Inn-Banquet-

             Center.html: has no option to book an accessible room. Hotel amenities, room

             types and amenities are all listed in detail. No information was given about

             accessibility in the hotel other than the statement “facilities for disabled guests”.

  18.        In the near future, Plaintiff intends to revisit Defendant's website and/or online

             reservations system and the third party sites identified above in order to test it for

             compliance with 28 C.F.R. Section 36.302(e) and/or to utilize the websites to

             reserve a guest room and otherwise avail herself of the goods, services, features,

             facilities, benefits, advantages, and accommodations of the Property.

  19.        Plaintiff is continuously aware that the subject websites remain non-compliant

             and that it would be a futile gesture to revisit the websites as long as those

             violations exist unless she is willing to suffer additional discrimination.

  20.        The violations present at Defendant's website and third party sites infringe

             Plaintiff's right to travel free of discrimination and deprive her of the information

             required to make meaningful choices for travel. Plaintiff has suffered, and

             continues to suffer, frustration and humiliation as the result of the discriminatory

             conditions present at Defendant's website and the third party sites the Defendant

             utilizes. By continuing to operate the website and utilize third party sites with

             discriminatory conditions, Defendant contributes to Plaintiff's sense of isolation

             and segregation and deprives Plaintiff the full and equal enjoyment of the goods,

             services, facilities, privileges and/or accommodations available to the general

             public. By encountering the discriminatory conditions at Defendant's website, and
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             third party sites, and knowing that it would be a futile gesture to return to the

             website unless she is willing to endure additional discrimination, Plaintiff is

             deprived of the same advantages, privileges, goods, services and benefits readily

             available to the general public. By maintaining a website with violations, and

             utilizing websites with violations, Defendant deprives Plaintiff the equality of

             opportunity offered to the general public.

  21.        Plaintiff has suffered and will continue to suffer direct and indirect injury as a

             result of the Defendant’s discrimination until the Defendant is compelled to

             modify its website and its postings on third party websites to comply with the

             requirements of the ADA and to continually monitor and ensure that the subject

             websites remains in compliance.

  22.        Plaintiff has a realistic, credible, existing and continuing threat of discrimination

             from the Defendant’s non-compliance with the ADA with respect to the websites.

             Plaintiff has reasonable grounds to believe that she will continue to be subjected

             to discrimination in violation of the ADA by the Defendant.

  23.        The Defendant has discriminated against the Plaintiff by denying her access to,

             and full and equal enjoyment of, the goods, services, facilities, privileges,

             advantages and/or accommodations of the subject websites.

  24.        The Plaintiff and all others similarly situated will continue to suffer such

             discrimination, injury and damage without the immediate relief provided by the

             ADA as requested herein.

  25.        Defendant has discriminated against the Plaintiff by denying her access to full and

             equal enjoyment of the goods, services, facilities, privileges, advantages and/or

             accommodations of its place of public accommodation or commercial facility in

             violation of 42 U.S.C. § 12181 et seq. and 28 CFR 36.302(e). Furthermore, the
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               Defendant continues to discriminate against the Plaintiff, and all those similarly

               situated by failing to make reasonable modifications in policies, practices or

               procedures, when such modifications are necessary to afford all offered goods,

               services, facilities, privileges, advantages or accommodations to individuals with

               disabilities; and by failing to take such efforts that may be necessary to ensure

               that no individual with a disability is excluded, denied services, segregated or

               otherwise treated differently than other individuals because of the absence of

               auxiliary aids and services.

  26.          Plaintiff is without adequate remedy at law and is suffering irreparable harm.

               Plaintiff has retained the undersigned counsel and is entitled to recover attorney’s

               fees, costs and litigation expenses from the Defendant pursuant to 42 U.S.C. §

               12205 and 28 CFR 36.505.

  27.          Pursuant to 42 U.S.C. § 12188, this Court is provided with authority to grant

               Plaintiff Injunctive Relief, including an order to require the Defendant to alter the

               subject websites to make them readily accessible and useable to the Plaintiff and

               all other persons with disabilities as defined by the ADA and 28 C.F.R. Section

               36.302(e); or by closing the Defendant’s website and prohibiting the Defendant

               from utilizing third party websites until such time as the Defendant cures its

               violations of the ADA.

  WHEREFORE, Plaintiff respectfully requests:

        a.     The Court issue a Declaratory Judgment that determines that the Defendant at the

               commencement of the subject lawsuit is in violation of Title III of the Americans

               with Disabilities Act, 42 U.S.C. § 12181 et seq. and 28 C.F.R. Section 36.302(e).

        b.     Injunctive relief against the Defendant including an order to revise its website,

               and its postings on third party sites to comply with 28 C.F.R. Section 36.302(e) and
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              to implement a policy to monitor and maintain the websites to ensure that it remains

              in compliance with said requirement.

        c.    An award of attorney’s fees, costs and litigation expenses pursuant to 42 U.S.C.

              § 12205.

        d.    Such other relief as the Court deems just and proper, and/or is allowable under

              Title III of the Americans with Disabilities Act.


              Respectfully Submitted,


                                        /s/ Philip Michael Cullen, III
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